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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 Jane Doe,                                            X
              Plaintiff,
       v.
 SEAN COMBS, DADDY’S HOUSE
 RECORDINGS INC., CE OPCO, LLC d/b/a
 COMBS GLOBAL f/k/a COMBS ENTERPRISES
 LLC, BAD BOY ENTERTAINMENT
 HOLDINGS, INC., BAD BOY PRODUCTIONS
 HOLDINGS, INC., BAD BOY BOOKS
 HOLDINGS, INC., BAD BOY RECORDS LLC,
                                                                      24-cv-07975-AT
 BAD BOY ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, ORGANIZATIONAL
 DOES 1-10, INDIVIDUAL DOES 1-10, AND
 SHAWN CARTER
              Defendants.



                                                      X


     DECLARATION OF ALEX SPIRO IN SUPPORT OF DEFENDANT SHAWN
      CARTER’S MOTION TO DENY PLAINTIFF’S REQUEST TO PROCEED
    ANONYMOUSLY PURSUANT TO FED. R. CIV. P. 10(a) OR TO DISMISS THE
            COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(1)

       I, Alex Spiro, declare as follows:

       1.      I am a partner at Quinn Emanuel Urquhart & Sullivan LLP. If called as a witness,

I could and would testify competently to the information contained herein.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the complaint in Civil

Action No. 248MCV05637, in the Superior Court of the State of California, County of Los

Angeles.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the Opinion & Order

Denying Motion to Proceed Under a Pseudonym in Civil Action No. 24-cv-8054 in the United

States District Court for the Southern District of New York.
                                                1
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       4.      Attached hereto as Exhibit 3 is a true and correct copy of the Opinion & Order

Denying Motion to Proceed Under a Pseudonym in Civil Action No. 23-CV-10628 in the United

States District Court for the Southern District of New York.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of the Instagram post from

the account of Anthony Buzbee dated December 8, 2024.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of the Twitter post from the

account of Anthony Buzbee dated December 8, 2024.



       I declare under the penalty of perjury that the foregoing statements are true and correct.

Executed in New York, New York on the 9 th day of December 2024.



DATED:      December 9, 2024                                   /s/ Alex Spiro______________

                                                               Alex Spiro




                                                2
